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Exhibit 1 to Objection

Page 1
1
2 2004 RXAM no
3 te
4 | SQUIRRELS RESEARCH LABS, ) a “ey
LLC, ) Re
5 ) cee “0 ba
Plaintiff, ) me * =
6 ) en
vs. ) Case No. 21-61491 “
7 )
DEBTOR, )
8 )
Defendant. )
10 ~

THE 2004 BXAM OF SQUIRRELS RESEARCH LABS, LLC
11 DAVID STANFILL
THURSDAY, MARCH 2, 2022

12 ror ore
13
14 The 2004 Exam of SQUIRRELS RESEARCH LABS,
15 LLC, through its representative, DAVID STANFILL,
16 called by the Plaintiff for examination pursuant
17 to the applicable rules, taken before me, the
18 undersigned, Aimee N. Szinte, Notary Public within
19 and for the State of Ohio, taken remotely via Zoom,
20 commencing at 1:30 p.m. the day and date above set
21 forth.
22
23
24
25
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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 1 of 25

27-Jun-2624 19:40 From:

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Page 2 Page 4
1 APPEARANCES: 1 DAVID STANFILL, of lawful age, called
3 On ene eae aint 2 by the Plaintiff for examination pursuant to the
Meyers Ronen Friedberg & Lewis 3 Applicable Rules of Civil Procedure, having been
4 28601 Chagrin Boulevard 4 first duly sworn, as hereinafter certified, was
5 ae Ohio 44122 5 examined and testified as follows:
Sheasley@moyersroman.com 6 2004 EXAMINATION OF DAVID STANFILL
6 7 BY-MR.HEASLEY:
7 On behalf of the Defendant: 8 Q Good afternoon, Mr. Stanfiil. My name is
8 fale 2m ES 9 Scott Heasley. 1 represent Torea Consulting in
9 600 Superior Avenue East 10 this matter,
Suite 1600 11 I'm going to ask you a series of
10 Cleveland, Ohio 44114 12 questions today. I will state on the record we
11 Frarn@brouse.com 13. are recording this via Zoom and I actually
12 14 figured out a setting where it will only be
waren 15 recorded on my computer and not on the Zoom
B 16 cloud, so that will give us some extra
15 17 security.
16 18 So Mr. Stanfill, have you ever been
17 19 deposed before?
iS 20 A Yes.
20 21 MS. ZURN: Mr. He's Heasley, may
21 22 ‘interrupt for one minute to clarify. We're
os 23 —_—ihere pursuant to a 134 motion and he's here in
24 24 his capacity as Defendant representative.
25 25 MR. HEASLEY: Yes, Thank you for
Page 3 Page 5
1 DAVID STANFILL 2004 EXAM INDEX 1 that.
2 EXAMINATION BY: PAGE NO, 2 Q How many times have you been deposed, sir?
3 3 A T'mnot sure of the exact, but individually in
MR. HEASLEY assesses 4 4 domestic matters.
; EXHIBIT MARKED 5 Q Do you know when the last time you were deposed
6 Exhibit 1 29 6 was?
Exhibit 3 24 7 A Ithas been several years.
7 Exhibit 4 80 8 MS. ZURN: Unless you were
8 ee i 195 9 counting the 341 meeting.
Exhibit 12 131 10 MR. HEASLEY: That's what I was
9 Exhibit 13 43] 11 going to ask.
Exhibit 14 112 12 MS, ZURN: Well, I think he views
10 Exhibit 16 110 ‘
Exhibit 22 114 13 that as a term of art in some ways.
i] 14 MR. HEASLEY: Right. So I was
12 15 going to clarify that,
M 16 Q Sol'm going to go over some ground rules
1b 17 because Aimee, the court reporter, is going to
16 18 be taking down everything we say today. So the
7 19 first thing we have to do is answer out loud or
18 :
19 20 = if you could please answer out loud,
20 21 You understand?
21 22 A Yes,
23 Q Because we can see each other on this nice
24 24 Zoom, but obviously if we shake our heads,
25 25 Aimee would probably make some notation about

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2 (Pages 2 - 5)

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p.3

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 2 of 25
2?-Jun-224 19:48

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Page 6

that.

So, in addition, we also have to take
turns speaking. So I will ask you a series of
questions and you may anticipate my question
and start to answer it, but if you could let me
finish the question, that would be helpful to
Aimee and me as well. Okay?
8A Yes.
9 Q Same thing goes for your answers. I will do my

SAU DW bw

10 best to not cut in on your responses. It may

11 occur just because of the Zoom medium here, so.
12 I'm going to ask you a series of

13 questions today and will you please let me know
14 if you do not understand one of my questions?

15 A Yes, I will.
16 Q Thank you for that. Because, otherwise, when

17 we review this deposition transcript at a later
18 date, everyone is going to assume that you

19 understood my question and you're answering
20 that question.

21 Does that make sense?

22 A It does.
23 Q Another rule is that we can take breaks

Page 8
Squirrel Research Laboratory corporate
representative forthcoming or no?
MS. ZURN: Mr. Stanfill is here
on behalf of Squirrels Research Labs, LLC, if
that is the entity that you intended to inquire
today.
7 Q Okay. So you are here as bath the corporate
8 representative of Midwest Data Company, LLC an

HRW WH —

9 Squirrels Research Laboratory?
10 MS. ZURN: No. Squirrels
11 Research Labs, LLC, Mr. Heasley.
12 MR. HEASLEY: Okay.

13 Q So Mr, Stanfill, when I say Squirrels, I mean
14 Squirrels Research Labs, LLC. Okay?

15 A lacknowledge your short notation.

16 Q And when I say Midwest, I will mean Midwest
{7 Data Company, LLC, Okay?

18 A Yes,

19 Q What did you do prepare for your 2004 Exam
20 ~~ today?

21 A Nothing other than sorting the documents,

22 ~~ exhibits that you've referenced.

23 Q You didn't review any other documents prior to

7 A No. Not that I'm aware of.
8 Q And you here for a corporate representative of

9 Squirrels, I'll call it?
10 MS. ZURN;: Well, let's be clear
11 about which entity he's here on behalf of.
12 MR. HEASLEY: Sure. So I was
13 getting to go that, Julie.

14 Q Are you here as a corporate representative of
15 Squirrel? Yes or no?

16 A No, I'm not.

17 Q Are you here as a corporate representative of

18 Midwest?

19 MS. ZURN: I don't know what

20 ~~‘: you're referring to when you say Midwest. Are
21 you referring to the Midwest Data Company?
22 MR, HEASLEY; Yes.

23 A lam here as a representative of the Midwest
24 Data Company, yes.
25 MR. HEASLEY: And Julie, is a

24 whenever you would like to take a break. The 24 ~— receiving my exhibits today?
25 only rule with that is you would have to answer 25 A Nothing explicit in preparation for this
Page 7 Page $
1 my last question prior to taking that break, 1 = meeting.
2 Does that make sense? 2 Q Other than your attomeys, did you talk to
3 A Yes. 3 anyone about the 2004 Exam today?
4 Q Is there anything today that would impede your | 4 A Other than the existence of the exam, no.
5 ability to understand my questions and answer 5 Q Who did you speak to about the existence of the
6 them truthfully? 6 exam?

7 A My wife and certainly some of my business
8 colleagues who needed to know my schedule as

9 they were trying to schedule other things
10 today.
11 Q_ So let's go through some background
12 information.
13 Could you please stale and spell your
14 full name?
15 A Yes. My name is David Stanfill, DA VID,
16 = StanfillisS TAN FILL,

17 Q So Mr. Stanfill, I'm going to let you know, so

18 onmy Zoom screen you are to the left of me, so
19 if I'm looking off to the left, it's because

20 ~—your face is over there. I'm not trying to

21 give you the stink eye, I'll just put that out

22 ‘there.

23 What's your current home address?

24 A 772 Treat Boulevard, B L V D, in Tallmadge,
25. Ohio, TALLMADGE, 44278.

3 (Pages 6 - 9}

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p.4

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 3 of 25

a?-Jun-2024 «19:41

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Pape 10
1 Q What's your current business address?
2 A You'll have to be more specific.
3 MS, ZURN: Objection.
4 Q Okay. Well, do you go to an office ona
5 day-to-day basis?
6 A Igo to multiple different locations depending

7 ~~ onthe day,
8 Q Okay. Which locations do you go to?
9 MS. ZURN: Objection.

10 Q You can answer.

11 A It will depend on which business ] am

12 representing on that day and what is on my

13 calendar and agenda,

14 Q For Midwest, where do you go for Midwest?
15 A For Midwest currently 1 primarily work from
16 home.

17 Q What about Squirrels?

Page 12
1 that. ['m currently employed by Squirrels,
2 LEC.
3 Q Any other companies?
4 A No. That is the only company I'm currently
5 employed by.
6 What is your job title for Squirrels, LLC?
7 Iam the CTO at present.
8 How long have you worked at Squirrels, LLC?
Since its formation in 2012.
What are your job duties?
Primarily to work on the strategy and advise
12 the engineering team for the software that they
13 produce there.
14 Q Prior to working at Squirrels, LLC, have you
15 worked at any other companies?
16 A Yes,
17 Q What company or companies did you work for

Ord

9A

10 Q
1A

18 A Atpresent for Squirrels Research Labs I also 18 immediately prior to or during the time you've
19 primarily work from home, although [have gone | 19 worked at Squirrels, LLC?
20 ‘to -- prior to the lease assignment to the 20 MS, ZURN; Mr, Heasley, I'm going
21 buyer in the I believe 363 sale, I would go to 21 to object because Mr, Stanfill is here in his
22 ~— the primary Squirrels Research Labs location at | 22 capacity as the Debtor representative, so I'm
23 = 8050 Freedom Avenue. 23 ~~ not sure how much further into Mr. Stanfill's
24 Q What's your highest level of education? 24 background you need to go in order to qualify
25 A Ihave a Bachelor's degree. 25 him to opine about the state of the Debtor's
Page 11 Page 13
1 Q When and where did you receive that? 1 finances and records,
2 A Kent State University around 2008. 2 Q Can you please answer my question,
3 Q Did you have a major? 3. Mz, Stanfill?
4 A Computer science, 4 A For the sake of answering the question, prior
5 Q Do you hold any advanced degrees? 5 to Squirrels, LLC I worked at Napkin Studio,
6 A Ido not. 6 LLC which was later acquired by Squirrels, LLC
7 Q Have you ever studied to obtain an advanced 7  ormerged into it. And during my tenure of
8 degree? 8 working at Squirrels, LLC I was also employed
9 A Yes, Idid some preliminary work on my 9 — directly by Squirrels Research Labs.
10 = Master's. 10 Q What did you do at Squirrels Research Labs?

11 Q When and where was that?

12 A I did some preliminary work at Kent State

13. - University and I took some online courses at

14. MIT,

15 Q Can you repeat that acronym again, the second

16 one? You said Kent State University and where
17 else?

18 A I took some online courses that were offered
19 through MIT.

20 Q Do you hold any certificates related to your

21 profession?

22 A Not that I recall,

23 Q Where are you currently employed?

24 A I'mcurrently employed by Squirrels Research
25 Labs. Orsorry. I have incorrectly answered

11 A Iwas the CEO.
12 Q What were your job duties?
13 A I was an engineering focused CEO, so primarily

14 directing the design and engineering

15 development of the hardware and related
16 software to support that hardware that
17. Squirrels Research Labs made and sold.

18 Q Had you ever worked at Midwest?

19 A Notas an employee.

20 Q Have you done any work for Midwest as a
21 non-employee, like a contractor?

22 A Ihave never done any compensated work for

23 Midwest. I work as an -- or I held the role of
24 CEO in Midwest as an uncompensated officer and
25 owner.

4 (Pages 10 - 13)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 4of 25

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Page 14
1 Q What job duties did you have as the
2 uncompensated CEO of Midwest?
3 A I was responsible for overseeing the general
4 business of Midwest's posting operation.
5 Q Are you familiar with the messaging application
6 called Discord?
7A Yes, lam.
8 Q What is Discord?
9 A As far as I know, it's a text chat and
10 messaging application.
11 Q I'msorry. What kind of messaging application?
12 A A text chat and messaging application.
13 Q And do you use Discord to send messages?
14 MS. ZURN: Objection.

15 Q You can answer,

16 A Thave used and have a Discord account, yes.

17 Q How many different user names did you have on
18 Discord?

19 MS. ZURN: Objection. Again,

20 Mz. Stanfill is only going to answer with

21 respect to his role as the Debtor

22 ‘representative.

23 MR. HEASLEY: Okay.

24 Q Can you please answer my question?
25 A Within the scope of Ms. Zurn's objection, I

Page 16
1 Q You can answer,
2 A Approximately four years.
3 Q Why do you use that app?
4 A It seemed to be where a lot of people that were
5 interested in the same sort of technical things
6 Iwas interested in were having conversations.
7 Q Would you talk about cryptocurrency on Discord?
8 A Yes.
9 Q Did you negotiate transactions related to

10 cryptocwrrency on Discord?

11 MS. ZURN: Objection. Are you

12 asking him if he's -- are you asking whether he
13. was engaging in cryptocurrency transactions on
14 behalf of Squirrels Research Labs, LLC or the
15 Midwest Data Company, LLC or if he was doing sq
16 personally? Because if you're inquiring as to
17 what he was doing personally, that's beyond the
18 scope of today's deposition.

19 MR. HEASLEY: Well, I'll ask my

20 questions, you can object and we'lf make a note
21 ~— of that.

22 Q So let's start with Squirrels, Have you

23 ~~ negotiated transactions on behalf of Squirrels
24 on Discord? Yes or no?

25 A Yes. Ihave negotiated transactions on behalf

Page 15
have one prior user name, I have had at least
one other user name that I used explicitly to
watch messages on channels where I didn't want
my presence to be known.
Q How did you do that?
A Because you can see on Discord if someone joins
a certain group or channel and there are
various protocols and other things that we
would develop for that we didn't necessarily
want to know myself or parties associated with
miners were paying attention to their
12 protocols.
13 Q Was your user name on Discord GPD Hoarder?
14 A It was not.
15 Q What was your user name on Discord?
16 A GPU Hoarder would have been,
17 Q Sol will tell you this. I'm having issues

womrnanut WN &

18 with my speaker on my computer, so that's why
19 = ’m leaning forward so much, Can you go slowly
20 ‘through that each letter. G what?

21 A GPU,HOARDER,
22 Q Very good. I was off by a Ietter. Sorry about

23 ‘that everybody.
24 So how long did you use Discord?
25 MS, ZURN: Objection.

Page 17
1 of Squirrels Research Labs on Discord.
2 Q Have you negotiated transactions on Discord on
3 behalf of Midwest?
4 A Iidon'trecall. That would not have been
5 commonplace.
6 Q Have you completed transactions personally on
7 ~~ Discord?
8 MS. ZURN;: Objection. And this
9 one I'm directing him not to answer as it is

10 beyond the scope of a 2004 Examination for the
11 finances and records of the Debtor. He is not
12 here on a personal basis. If that's how you

13. want to depose him, then he has the right to

14 have personal counsel present.

15 MR. HEASLEY: Okay. I'll

16 research time so we can address that with the

17 Judge if necessary. I'll just ask for another

18 one, If you're going to play these games,

19 that's fine.

20 Q Can you fell me a little bit about what Midwest
21 does?

22 A It hosts crypto and data processing equipment
23 and cryptocurrency mining equipment for any
24 party that needs a third-party to host it for

25 them because they cannot --

5 (Pages 14 - 17)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 5 of 25
27-Jun-2024 19:43

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Page 18

1 Q When did the company start ~ I'm sorry. I cut

2  =you off. Go ahead.

3 A Noproblem. I was following you.

4 Because they cannot or because they do

5 not want to host it for themselves.

6 Q Thank you. Sorry. Let's reboot.

7 When did Midwest start, sir?

8 A I believe that it was started in fall of 2019.

9 Q What is the most amount of employees Midwest
10 ever had, if that question makes any sense?
11 A Midwest did not have any direct employees.
12 Q So did anyone perform work for Midwest;
13. subcontractors, agents, anything like that?
14 A Employees of Squirrels Research Labs did work
15 for Midwest.
16 Q Do you know approximately how many Squirrels
17 Research Labs employees did work for Midwest?
18 A It would vary significantly over time.
19 Q Do you have any idea the greatest number of
20 employees, 10, 15, 20 when things were really
21 ~~ churning?
22 A There may have been 20 people actively doing

23 something related to Midwest in the most active
24 ~~ period.
25 Q Okay. And I think you mentioned you were the

Page 20
1 A Primarily Midwest hosted -- you used the term
2 stored. I'm going to rephrase that, Hosted
3 products that had been sold by SQRL, and that
4 primarily was FPGA based accelerator boards,
5 sometimes the server chassis that they were
6 built up into, sometimes just accelerator
7 boards or stand-alone systems.
8 MR. HEASLEY: If we can take a
9 _ break for five minutes, I'm having significant
10 problems with my speaker still, so if we can
11 take a break. I know we're just getting
12 started, If you bear with me for a minute,
13. I'l be right back. Okay?
14 Off the record.
15 (Recess taken.)
16 MR. HEASLEY: Back on the record.
17 ‘Thanks for your patience, everyone.
18 Q So we were talking a little bit about Midwest
19 and the type of equipment it hosts. That's the
20 term of art you used before we took the break?

21 A Yes, I-would use the term hosting and that

22 would be, as you said, the term of art. Other

23‘ terms would be co-location would be an industry
24 ~~‘ term that would describe it.

25 Q Interms of the square footage at Midwest, I'm

Page 19

1 President and CEO of Midwest, right?
2A Yes.
3 Q Were there any other officers or executives of
4 Midwest?
5 A I don't directly recall details, but yes, I
6 believe in the Operating Agreement there would
7 have been officers.
8 Q And what are the names of those officers? Do
9 you recall any of them?

10 A. The active officer would have been Jessica

11 Gritzan ina COO role.

12 Q So when I asked you about what Midwest does,
13 you said that they host equipment for various

14 third-parties, right?

ISA Yes.

16 Q Did Midwest have any kind of system or list in
17 place of the various equipment it was storing

18 for third-parties?

19 A Tomy knowledge there was a spreadsheet that I
20 believe has been provided to your client or you
21 which is where this information was generally
22 ~—skept.

23 Q So when you say equipment; computer servers,
24 computers? What kind of equipment was being
25 stored by Midwest?

Page 2}
trying to get a feel for how much of this
equipment you hosted. Do you know about how
many square feet of hosting space you had?

A. It's hard to say exactly how many square feet
how it was encompassed, because I will give you
some small elaboration here that we hosted
multiple kind of equipment with different
cooling systems, some air cooled, some liquid

9 cooled, and those required different areas and

10 support infrastructure, and that space was

11 essentially sublet from Squirrels Research

12 Labs.

13 There was and is an explicit lease at one

14 point where Midwest Data Company leased space
15 directly. That's certainly a document we could

16 provide that would have the square footage of

17 what its direct space leasing would be. It was

18 around 10,000 square feet.

19 Q Okay. So Squirrels Research Labs, what did
20 = that company do?
21 A Squirrels Research Labs designed, marketed and

22 ~~ sold hardware, so circuit boards for high

23 performance computing, Data center

24 accelerators are the primary customer from the
25 cryptocurrency mining market.

6 (Pages 18 - 21)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 6 of 25

27-Jun-2824 «19:44

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Page 22
1 Q When did Squirrels Research Labs start?
2 A It was formed in May of 2018.
3 Q So Midwest hosted equipment. Squirrels
4 Research Labs designed equipment hardware?
5 A Yes, Designed and manufactured, if I left that
6 out,
7 Q And did Squirrels also mine and trade in
8 cryptocurrency?
9 A Squirrels Research Labs mined eryptocurrency in

10 certain situations and did not regularly ~-

11‘ [il clarify the answer to trading

12 cryptocurrency. Squirrels Research Labs traded
13 cryptocurrency to almost exclusively, there

14 maybe some small exceptions, to US dollars for
15 the sake of converting it into a normal

16 business currency.

17 Q What about mining cryptocurrency?

18 A Squirrels Research Labs in the course of its

19 existence mined cryptocurrency at various times
20 = pursuant to various agreements it had.

21 Q Do you know about how many mining agreements
22 you had?

23 A I don't recall the exact amount, but I will

Page 24
1 his leaving the company.
2Q Was there a gentleman named Greg involved with

3 the cryptocurrency?
4 MS, ZURN: Objection. You can
5 answer if you understand the question.

6 A No. Not involved in the currency. The
7 currency mining.
8 Q So was there an employee or agent for Squirrels
9 or Midwest whose first name was Greg?
10 A There was a contractor named Greg.
11 Q What is Greg's last name?
12 A Palmeda, I believe.
13 Q Do you know what state he currently resides in?
14 A To the best of my knowledge, Texas.
15 Q_ So what were Greg's job duties as a contractor
16 ~— -- well, first of all, let's ask this. Which
t7 one of the entities that you're representing
18 today did he work as a contractor for?
19 A He worked as a contractor for Squirrels
20 Research Labs. His work may have occasionally
21 ‘benefited Midwest Data Company, but he worked
22 primarily as a contractor for Squirrels
23 ~—_—- Research Labs.
24 Q What work did he do?
25 A He came up from Texas and assisted us with

24 answer that the primary cryptocurrency mining
25 was with just one or two large I guess you
. Page 23

1 could term them profit sharing agreements.

2 Q And who were those profit sharing agreements

3. with?

4 A There was one profit sharing agreement with a

5 group called JS Mining and there were other

6 profit sharing agreements with other customers,

7 ‘the business names of which J don't fully

8 recall right at this moment.

9 Q When did Squirrels start mining cryptocurrency?
LO MS. ZURN: Objection.
11 A Squirrels Research Labs initially mined

12. cryptocurrency at its formation with GPUs,

13 Q Who was in charge of supervising Squirrels
14 mining of eryptocurrency?

15 A Twouldn't say anyone was explicitly in charge

16 = of it. There were different teams that worked
17 different parts of it. At formation I was in
18 charge of it,

19 Q Anyone else that you would know that would know

20 =a lot about Squisrels mining of crypto besides
21° you?

22 A Daniel Mezzazaras would be the party that

23 operated, managed in the past, Richard, I don't
24 ~~ recall his last name, had been involved in

25 managing some cryptocurrency mining prior to

Page 25
building the physical infrastructure for
operating the cryptocurrency mining equipment
that was utilized by both Squirrels Research
Labs and the Midwest Data Company.
Q Tell me what you mean by physical
infrastructure. Was he building shelves and
things in layman's terms?
A_ Shelves, electrical wiring, running physical
cables, network cables, liquid cooling systerns,
welding, a lot of welding. That was his main
responsibility was stainless steel welding for
manifolds, fixtures, cooling systems associated
13 __ with our liquid cooling infrastructure.
14 Q Do you know a gentleman named Michael Maranda?
15 A Ido, yes.
16 Q Whois Michael Maranda?
17 A Michael Maranda was a customer and later became
18  ashareholder in Squirrels Research Labs.
19 Q Have you met Michael Maranda in person?
20 A Ihave, yes.
21 Q Well, tell me a little bit about your first
22 ~=meeting, Was the first meeting in person or
23 ontine?
24 A My first meeting was via telephone.

et
_ OU SAA A PWN =

N

25 Q When was that?

7 (Pages 22 - 25)

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p.8

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 7 of 25

2?-Jun-2424 «19:44

1
2
3 negotiating an agreement with Avnet. Part of
4 the terms of that agreement required us to buy
5 acertain minimum order quantity of Xilinx,
6 FPGA chips to be more explicit, and I was put
7 in touch with Mr. Maranda by a colleague as a
8 potential party who may purchase some of that
9 minimum order quantity to help us reach that
10 quantity.
11 Q And did you wind up following through on that
12 plan?
13 A We did end up reaching that order quantity,
14 yes.
15 Q Okay. We'll get back to Mr. Maranda here in a

16 little bit. I just wanted to touch base to

17 © start.

18 So as I mentioned, my client is Torea

19 Consulting, TORE A, The company is run by a
20 = gentleman named Paul Billinger. Do you know

21 him?

22 A I don't know him deeply personally, but I know
23 ~——-who he is, yeah.

24 Q Did you connect with Paul on Discord?

25 A I've certainly had some Discord conversations

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Page 26 Page 28
1 A This would have been in March of 2021, 1 with Paul, yes.
2 immediately pre-pandemic. 2 Q Do you know when your correspondence with Paul
3 MS. ZURN: Mr. Heasley, could 3 started on Discord?
4 you identify -- could you ask your question 4 A T don't know the first time I talked to him.
5 again? I think that Mr. -- I think there was 5 No, I don't.
6 an audio difficulty. 6 Q Do you recall the circumstances under which you
7 MR. HEASLEY: Oh, sure. No 7 connected with Paul?
8 problem. 8 A Tf don't recall the circumstances of our first
9 Q Sol wanted to know when you first connected 9 conversation, no.
10 with Michael Maranda on the telephone, you 10 Q Do you recall generally what business dealings
11 mentioned. Do you know generally when that 11 Squirrels Research Labs had with Torea?
12 was? 12 A Tknow that he was a customer of Squirrels
13 A I believe this was in March of 2021, 13. Research Labs hardware and that he had some
14 Q And how did that telephone call come about? 14 part in their operation at Squirrels Research
15 A We were worlang on a -- the terms of a deal 15 Labs.
16 with Avnet. And as part of the terms of that 16 Q Very good.
17 deal, we needed to purchase a certain amount of | 17 And do you know how much hardware Torea
18 chips, microchips from Avnet as a supplier, and {| 18 purchased from Squirrels?
19 a third-party suggested that | talk to 19 A I don't personally know the exact total amount
20 Mr, Maranda who might have interest in 20 purchased. I know he had purchased hardware
21 purchasing some portion of the minimum order 21 ~~ and also sold hardware that we shipped out on
22 quantity. 22 his behalf. And because of these matters, I'm
23 Q So your audio cut out on me, but I think | 23. aware of the 267 number as being a material
24 ~=understood. So maybe | can ask -- so you 24 number of what he was believed to have had.
25 wanted to buy some microchips from Avnet I 25 Q So it would have been 267 cryptocurrency mining
Page 27 Page 29
think you said, right? cards, right?
A Yes, Well, I will be more clear. We were A Yes.

Q Okay. I'm going to show you -- well, I'll
display on my screen once I share it here,
Exhibit 1, I don't know if you have that in

9 front of you. You can look at it up there or

10 up there, whatever you would like.

11 A I will do both to save my vision here,

12 Q Fair enough. So [li be zooming in too.

13 So I know I just sent this to you today,

14 but do you recognize this as a Squirrels

15 Research Labs invoice?

16 A Yes. I generally recognize the form and

17 _ structure.

18 Q So this invoice is dated April 16, 2020.

19 Do you see that?

20 A Yes, I do.

21 Q And the amount of the invoice is $60,000.

22 Do you see that?

23 A Ido, yes.

24 Q Sol know a little bit about cryptocurrency,

25 but not nearly as much as you. So the

8 (Pages 26 - 29)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 8 of 25

27-dun-20240 19:45

From:

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Page 30

1 description of the I think equipment here, what
2 did Paul Billinger purchase from Squirrels?
3 A He purchased -- according to this invoice he
4 purchased five Forest Kitten complete mining
5 boxes, which would have been a small, low cost
6 host box with five of the SQORL Forest Kitten
7 ~~ ‘mining cores or accelerators, as I tend to call
8 them, in it. And it looks like he purchased
9 30 of those boxes, if] could read that

correctly.
Q You said you would call them cores or

aon Aw & WH

Page 32
achieving that minimura order quantity, we
intended to offer some of our largest customers
equipment that would be available immediately
in order to induce purchases of additional
equipment that would have some lead time,

So we intended to -- to be perfectly
clear, we intended to offer them some immediate
hashrate as it would be called while their
equipment was built in order to help induce a
sale.
Q You just used a term I'm not familiar with and

12 accelerators; is that the term you just used? 12. I was going to ask, Thank you,
13 A I generally used the term accelerators, 13 Hashrate. Explain that, What does that
14 Q And is that what lay people like me would call |14 term mean?
15 cards or is that not a card? 15 A In quite literal terms, each of these boards is
16 A suspect most people would call them cords or [16 doing calculations. Each of those calculations
17 cards or something of that nature, 17 you could view it as a simple -- if I ask you
18 Q So this was on April 16 of 2020. Do you 18 to multiply two numbers, you would call that
19 believe this could have been maybe toward the 19 one calculation. In this case the calculation
20 beginning of your interactions with Paul or 20 is more complex, but an individual unit of
21 ~~ Paul's interactions with Squirrels? 1s this a 21 calculation is called a hash. And these boards
22 ~=decent starting date in terms of that 22 ~~ will do some number of millions or, in some
23 relationship? 23 cases, billions or trillions of hashes per
24 A It could be. I don't have any way of knowing, 24 ~~ second.
25 ~— nor do I recall exactly what his first purchase 25 So when | refer to hashrate, it is
Page 31 Page 33
1 from Squirrels Research Labs was or what his -- 1 referring to providing a certain number of
2 when our interaction began. 2 amount of computational power usually denoted
3 Q Was Torea or Paul one of Squirrels’ larger 3 per second,
4 customers in terms of hardware purchases? 4 Q Sol'm going to see if I can summarize the
5 A No. Notat all. 5 transactions you just mentioned and we'll take
6 Q Washe one of the smallest ones, average? 6 it step by step.
7 ~~ What's your take on that? 7 So as an initial matter you had some
8 A I would say he was a medium-sized customer. 8 third-parties who had ordered hardware from
9 Q So there came a point in time where -- hold on 9 Midwest. Is that an accurate first step in our
10 one second. I'll stop sharing so we can see a 10 process?
11 little better. 11 A I don't believe that's accurate.
12 Those are all the questions that I have 12 Q Okay.
13 related to Exhibit 1 for now, Mr, Stanfill, 13 A You better rephrase your question.
14 There came a point in time when Squirrels 14 Q Sure. That's fine.
15 wanted to rent Torea cards, right? 15 So you said I think, if I'm not wrong,
16 A Yes, 16 you said there were some third-parties that
17 Q Can you tell me about that? Let me ask you 17 were purchasing something from either Squirrels
18 some specific why, 18 or Midwest and then there was going to be a
19 Why did Squirrels want to rent Torea 19 delay delivering whatever you were going to be
20 cryptocurrency cards? 20 selling them.
21 A That was at the same time as the previous 21 Am Tin any way in the right ballpark?
22 referenced period with Maranda where we were in | 22 A No, Your statements are incorrect and
23 the process of negotiating a deal with Avnet 23 ~=misleading.
24 ~~ that required a minimum purchase or quantity of | 24 There were customers who we intended to
25 new boards. And as part of our strategy for 25 _—_ induce the purchase of additional hardware

9 (Pages 30 - 33)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 9 of 25
2?-Jun-2824 19:46

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Page 34 Page 36

1 with -- and all of the hardware we sold, at 1 Q And I think you said Fiona King?

2 least the first sale of the hardware, was built 2A Yes,

3. toorder. We weren't buying hardware and 3 Q And is her Discord FKRL_LIMS?

4 inventorying it on the shelf in those cases and 4A Yes.

5 then selling it from the shelf. We were 5 Q Soit's your recollection that the initial

6 — selling built to order hardware, 6 terms were $3.50 per card per day?

7 That built to order hardware has some 7A Yes.

8 lead time. If we take the beginning of an FPGA 8 Q Was that the initial proposal or was that the

9 chain, there is days or weeks backlog before 9 bottom line deal that had been finalized?
10 then it's turned into an operational unit. 10 A That was the offer I made that I was told was
11 So because we had a deadline in the deal 11 accepted. And I was made aware later, and I've
12 with Aynet to make the cash ina minimum order | 12 seen in the Discord documents that have been
13 quantity purchase of these additional chips, 13. produced of Fiona's messages that that was
14 and you'll certainly ask about that, so that 14 further -- attempts were made to further
15 deadline was in the end of March of 2021, And 15 negotiate that after the initial acceptance was
16 in order to duce some of those large 16 relayed to me.
17 customers to pay upfront for those purchases, 17 Q And was a different deal than the $3.50 per
18 we elected to offer them or came up with the 18 card per day, was that negotiated and finalized
19 idea to offer them immediately available 19 on Discord?
20 hashrate, such that they could see instant 20 A I did not make any final negotiations beyond
21 effect of their new purchase. And this was 21 that point, But there were additional
22 done transparently. 22 conversations that were had to indicate that
23 And so as one of our host customers who 23 PBI had indicated then the market conditions
24 had equipment that was operating in our 24 had gone up and that the price needed to be
25 facility, it seemed reasonable that we could 25 more per day, which I believe I acknowledged,

Page 35

1 approach Mr, Billinger and ask if he would be

2 willing to trade us cash payment for his

3 hashrate for us to rent it during that period.

4 Q And Mr, Billinger took you up on this offer,

5 right?

6 A Yes. That was my understanding.

7 Q And can you tell me a little bit about the

8 terms that you and the Squirrels team reached

9 with Paul and Torea regarding rental payments?
10 A Sol did not have any direct interaction with

11 Tam going to use the letters PBI, if that's

12 okay to refer to Mr. Billinger.

13 Q. That's fine.

14 A I did not have any direction interaction with
15 PBL at this time that I recall. [ had -- upon

16 = coming up with this concept, I had asked a

17 member of our staff, Fiona King, who had a

18 regular relationship with PBI, to propose this
19 deal and propose certain payment terms,

20 My initial payment term was $3.50 per day
21 per card, which was in line with the cost of

22 those boards at that time, And I had asked

23 +=Ms. King to present that and she had responded
24 ~~ to me that we had gotten a positive response to
25 take us up on that offer.

Page 37
1 but it was still a U.S, dollar per day figure.
2 Q And there came a time when Squirrels took
3 _ control of the Torea cards, right?
4A Yes,
5 Q 267 of them, right?
6 A Yes, to my knowledge.
7 Q And rental payments were not made in a timely
§ manner, were they?
9 A I'm not aware of the exact specifics, but I

10 understand there's some dispute about the

11 timeliness of the rental payments.

12 Q What is your understanding of the nature of
13 those disputes?

14 A At the time I was not incredibly -- I was not

i5 sitting behind a desk. We were doing very

16 active production and I was running midnight
17 _ shifts in the facility, physically running the

18 machines to produce the batch of equipment, so
19 1 was not heavily hands-on on this topic.

20 T directed our team to pay as agreed with

21s regards to this. I later care under the

22 understanding that PBI was unhappy with some
23 aspects of the payment, whether it was timing
24 ~~ related, but I was under the impression that it
25 was primarily currency and amount related, And

10 (Pages 34 - 37)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 10 of 25

27-Jun-2024 «19:4?

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Page 38

Page 40

1 that was because the currency and amount was 1 I believe, but I'm not sure, that it may have
2 notin line with what I had initially approved, 2 been communicated at some point later as this
3. it sounded like, or it appeared that my staff 3 particular sticking point became the
4 — was unsure of how to proceed with payments. 4 predominant sticking point of the disagreements
5 Q Lets break that down a little bit. 5 here.
6 First you said there was an issue in 6 Q Don't you think that should have been
7 terms of timing. So late payments, right? 7 communicated from the outset?
8 A Yeah. It does appear that there were periods 8 A From my perspective, our agreement was in
9 in which we weren't prompt in our payments, 59 US. dollars.
10 Q Okay. Then there was also an issue involving 10 Q And then you said there was an issue with
11 currency. So what do you mean by that? 11 timing, currency and amount.
12 A My impression was that the deal was frequently | 12 So what was the issue with amount?
13 attempted to be renegotiated based on market 13 A The issue with amount stemmed from the issue
14 conditions, so rewritten in whatever way would 14. with currency; namely, that from at least the
15 benefit PBI to our detriment. 15 perspective of the deal I had approved, the
16 And a particular problematic nature for 16 amount was in U.S. dollars, There was some
17 our operation was that he insisted on being 17 discussion that the amount should reflect
18 paid in Ethereum, which is a cryptocurrency. 18 market conditions, I was amicable to that, as
19 if you want me to elaborate on Ethereum, we can | 19 we had expressed the intention it should be --
20 do that, But for our purposes now I can say 20 we had no intention of taking advantage of
21 that he wanted to be paid in Ethereum. 21 Mr. Billinger in any fashion. It was meant to
22 This was of some issue for us because we 22 ~=bea simple trade that benefited us and was
23 ~=— did not hold a treasury of Ethereum. We were 23 fine for him.
24 primarily operating business in U.S. dollars 24 And so at the time at which payments were
25 and almost all of our cryptocurrency was 25 due, my understanding from my staff was that
Page 39 Page 41
1 regularly converted to U.S, dollars and we did 1 Mr. Billinger or Torea, Pl] stick to Torea
2  nothavea regular expedited mechanism of 2 here, Torea wanted payment in Ethereum, which
3 converting U.S. dollars back into Ethereum. 3 we were working to accommodate. But then it
4Q You gotme. You bated me. 4 further became apparent that the ammount of
5 Tell me what Ethereum is. I'm here to 5 payment was expected to be enumerated in
6 learn. Go ahead. 6  Ethereum earnings despite -- when it was paid
7 A Just for the clarity of the record here, 7 rather in USD earnings.
8  Ethereum is a cryptocurrency in some ways very | 8 So to be specific about that, let's use
9 similar to Bitcoin or other cryptocurrency that 9 the $3.50 a day for simple math here. If we
10 is able to be accumulated in a wallet, able to 10 had agreed to $3.50 U.S. per day and ten days
11 be transmitted between parties, able to be il had passed, and that would be $35 if my math is
12 exchanged, for example, with other so-called 12 holding. During that period the Ethereum to
13 fiat traditional currencies such as U.S. 13. US. dollar price could be quite volatile, and
14 ~— dollars or with other cryptocurrency. 14 so from our perspective we owed $35 U.S. and if
15 Q Sol believe you were referring to Squirrels 15 Mr. Billinger wanted that paid in Ethereum,
16 = did not hold any treasury of Ethereum. You 16 then we could certainly accommodate that. We
17 _ said that a minute ago, correct? 17 would then need to convert $35 U.S. into
18 A Yes. We did not regularly hold any large 18 Ethereum at the time of payment providing the
19 balances of eryptocurrency unless they were 19 same value at time of payment,
20 what we needed to support some operation. T'll 20 My understanding was there was an attempt
21 give that clarity. 21  tovewrite the deal to say that it should have
22 Q Very good. Sorry for interrupting, 22 reflected the earnings in Ethereum, plus any
23 Was that communicated to Paul in Torea or 23 accumulation in conversion value of that
24 ~=PBlas you refer to him? 24  Ethereum over that subsequent ten days, So if
25 A I don't believe it was initially communicated. 25 Ethereum to the U.S. daliar went up 10 percent

11 (Pages 38 - 41)

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p.12

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 11 of 25

27-Jun-2624 19:48 From: +13368709168
Pape 42 Page 44
1 over that ten days, we would be expected to 1 communication in person.
2 effectively pay $3.85 per card was the 2 MS, ZURN: Mr. Heasley, when we
3 messaging that my team was getting from Torea. 3 can take five minutes for a restroom break, |
4 And this generated, naturally, a bit of 4 would appreciate it.
5 dispute, because this would represent a 5 MR. HEASLEY: Let's do that
6 windfall for Torea with no benefit to us 6 because I can get my speakers fixed, so Ict's
7 relative to the deal. 7 take five minutes. 2:35 we'll come back.
8 Q So let's break down a couple things here, I 8 (Recess taken.)
9 want to ask you some follow up questions to 9 Q Mr. Stanfill, you're still under oath.
10 that. So L appreciate the detail. 10 We just took a break for a few minutes.
il You mentioned several times the deal you 11 Fm going to follow up on your last few
12 approved. So you said that the deal you 12 statements,
13. approved was $3.50 per card per day, right? 13 MS. ZURN: Sorry. Go ahead. I
14 A Yes. That was the initial deal T had approved, 14 apologize.
15 Q And how did you go about approving that? Did 15 MR, HEASLEY: No problem.
16 you say, "Hey, Fiona, it's 3.50"? Did you 16 Q So you mentioned Fiona King. Where was
17 e-mail her, text message her? How did you 17‘ Fiona King working at the time this deal was
18 communicate those terms? 18 consummated on Discord?
19 A Idon't remember the medium, but I communicated 19 A She primarily worked I believe from the UK.
20 to Fiona, “How does $3.50 a day sound?" And I 20 Q So you would have had to communicate -- no.
21 generally -- generally the negotiations I do 21 Being in the UK, does that sort of refresh your
22 and the sales that I do, I am not a sales 22 ‘recollection in terms of obviously you wouldn't
23 person, that's not my job, are very friendly 23 have called across the office to her, but do
24 ~— deals. They're not -- what's the term I'm 24 ~=-you think you would have communicated in
25 looking for. It's not a high stakes, high 25 electronic format with her?
Page 43 Page 45
1 intensity negotiation. It's meant to be a very 1 A Yes, And as I mentioned in my previous answer,
2 friendly, "Do we have a deal? Yes." 2 electronic was referenced primarily with Fiona
3 So I communicated to Fiona to make that 3 King. The rest of the staff was almost
4 — initial offer. She communicated back to me 4 entirely on-site at the time.
5 that that offer was accepted and I went on to 5 Q Interms of the electronic, would you have used
6 do whatever else that [had on my plate at that 6 Discord?
7 time. 7 A Not with Fiona. No.
8 As I mentioned in my previous portion of 8 Q What would you have used?
9 the statement, it later was communicated to me 9 A Primarily we would have used Slack at that
10 that Torea wanted to adjust that because market [10 time.
1i conditions were changing. I expressed that I 11 Q Okay. Slack.
12 was amicable to that U.S. dollar amount 12 Do you save your Slack messages on your
13 __ increasing to reflect that, and that was the 13 account where you could see Slack messages with
14 extent of my approval. 14 Fiona about this deal?
15 So from that point I had simply directed 15 MS. ZURN: Mr. Heasley,
16 the team to make it happen and moved on, You |16 Mr, Stanfill can answer the question, but I
17 know, this was a relatively small, very small 17 want to remind you we provided written
18 blip in the radar of everything that I was in 18 responses to your examination and in that we
19 at the time. 19 did indicate that the Debtor no longer has
20 Q So when you were communicating with your team 20 —_ access to their Slack account.
21 about this deal, were you doing it 21 MR, HEASLEY; Okay,
22 ~— electronically? 22 Q Let me ask this, Mr. Stanfill. When the Slack
23 A Most likely in some forms, although a large 23 account was up and running, is it an electronic
24 portion of our team was on-site at that time 24 platform where the messages are saved or
25 with the production, so there was a lot of 25 instantly deleted like some messaging

12 (Pages 42 - 45)

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p.13

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 12 of 25

2?-Jun-2024 19:49

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Pape 46
1 applications?
2 A I'mnot directly familiar with Slack's message
3 retention policy, but it’s certainly not
4 instant, if there's any sort of retention
5 policy at all.
6 Q So in your auswer before the break you said you
7 didn’t want to take advantage of Paul and
8  Torea.
9 Do you remember saying that?
10 A Yes.
11 Q Okay. And so in terms of not taking advantage

12. of Paul and Torea, if you said you were going
13 to rent cards and then didn't pay rent in a

14 timely manner, that would be one form of taking
15 advantage of Torea, wouldn't it?

16 A I think it would depend on exactly what you
17 mean by a timely manner.
18 Q Okay. Late. A day late. Would that be taking

Page 48
decided it wanted to try to buy these cards
from Torea or Mr. Billinger, right?
A Yes.
Q. And how did that come about?
A My staff came to me and was very aggravated and
frustrated with the deal and felt that they
were constantly having — fighting a battle and
it was very distracting from all of the very,
9 very busy production activity we were trying to

COOmn Amn S&S WN

10 accomplish. And they asked me to, you know,
11 asked me to intervene and make some solution.
12 Up until that point, I hadn't had any

13. involvement in it. It was just left to my team
14 to handle and they had my directives to handle
15 it as per our agreement. And so I reached out
16 to Mr. Billinger and attempted to negotiate

17 some sort of way to put an end to this debate
18 and move us forward.

9 — that he structured that basically maximized his

10 advantage from the market condition which I
11 felt was not in the good faith spirit of the
12 agreement we had made.

13 Q Allright. Well, did you tender $3.50 per card
14 per day in a timely manner for renting these

15 cards?

16 A I did not personally make any tender of payment

17 with regards to the rentals, but I believe we

18 made an initial payment promptly and then I

19 believe that there was a subsequent payment

20 made, both of which were made in Ethereum in
21 attempts to be cooperative with Mr, Billinger’s
22 request for payments in Ethereum in a pretty

23 commensurate manner. I wouldn't say it was day
24 ~~ for day, but it was good faith.

25 Q There came a point in time when Squirrels

19 advantage of Torea if you paid them rent a day 19 Q Okay. And so you made a deal with we'll just
20 late? 20 call it Mr. Billinger or Paul?
21 A I think if there's a dispute as to the amount 21 A Sure.
22 ~~ owed, then it has to be reconciled before 22 Q To buy the 267 cards, right?
23° payment. 23 A Yes.
24 Q So do you believe there was a good faith 24 Q Okay, And what were the terms of that deal?
25 dispute related to the amount of rent that was 25 A So we negotiated that deal back and forth and
Page 47 Page 49
1 due and owing related to these cards? 1 ultimately came to a price per board that he
2 A Oh, absolutely in this case. 2 was willing to accept. And I forget the exact
3 Q And what was the nature of that dispute? 3. price. I apologize. I don't have that in
4 A It was the dispute between the terms we 4 front ofme. But we came to the terms of the
5 initially agreed on, the currency that was to 5 price per board per day, And I do know that
6 be enumerated in, and then Mr. — Torea's 6 that was on the {2th of April. Or not price
7 request for payment that basically asked us to 7 perboard per day. I apologize. Price per
8 pay him under the terms of a different deal 8 board to buy the boards.

9 Q Well, what method were you going to use to pay,
10 Ethereum or U.S. dollars?
11 A He had requested payment in Ethereum at that
12 time, which I had agreed to in terms of the
13 currency again.
14 Q And you didn’t pay in full to purchase the 267
15 cards in a timely manner, did you?
16 A Atthe time in which we negotiated, I had

17 advised Mr. Billinger that it would not be
18 immediately available and there was no time set
19 for when we would explicitly pay it.

20 Q Did you make any payments related to purchasing
21 the 267 cards?

22 A Yes.

23 Q How many payments and how much were they for?
24 A I believe there was one payment, and this was

25  miade directly by me, again, in the continued

13 (Pages 46 - 49)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 13 of 25

27-Jun-2024 19:58

From:

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Pape 50
1 spirit of trying to operate in good faith due
2  toadelay in getting funds in Ethereum on our
3 side, I made a payment of I believe 24
4  Ethereum.
5 Q So we've been very particular about this. When
6 you say I, do you mean you, yourself, in your
7 ~~ personal capacity?

8 A Yes. I personally used my own Ethereum to make

9  apayment to Mr, Billinger because the SQRL
10 were unable to get Ethereum to make the payment
11 until some time had passed and I understood
12. Mr. Billinger had some frustrations about that,

13 Q And did you make promises to Mr. Billinger
14 regarding how much -- how soon the rest of the
15 purchase amount would be tendered?

16 A I don't recall the details of that. I'm sure

17 that J let him know that we were working on
18 getting it paid.

19 Q And that it would be paid within the next few
20 = days? I'msorry, Finish your answer, sir, I

21 ~~ cut you off. I did not mean to,

22 A I don't recall any specific agreement as to

23 when the rest would be paid, but I certainly

24 recall representing that we were going to fry
25 =‘ to get it handled promptly.

Page 52
1 in good faith.
2 Q Okay. You said a minute ago that you had told
3 Torea you would pay in Ethereum, right?
4A Yes,
5 Q Okay. So then you attempted to make a U.S.

6 dollar payment in late April or early May. Is

7 that the time frame?

8 A Yes. Yes. As Ethereum -- we could not get

9  Ethereum at the time in a timely manner, s0 we
10 made the attempt to make the payment in U.S.
11 dollars.
12 Q Did you communicate to Paul Billinger that that
13. _-was the issue; you were having trouble
14 acquiring Ethereum and that's why you were
15 trying to pay in U.S, dollars?
16 A I did not personally make that communication.
17 We internally had discussed that communication
18 and I was under the impression that
19 communication had been made, but I did not
20 personally.
21 Q Okay. And who was the person that was supposed

N
nN

to communicate that?

A It would have been either Fiona King or Amanda
McConnell that was handling the financial side.

Q So an attempt was made. That was one attempt.

NNN
A BU

Page 51
1 Q And do you recall telling Mr. Billinger that
2 you would make the final payment in a few days?
3 A [don't at this moment recall the exact words
4 that Lused,
5 Q Did you tell him that the final additional
6 payment would be forthcoming in the near
7 future?
8 A Isaid something along those lines, Again, I
9 don't recall the exact words, but I did say
10 something along those lines.
11 Q And that final payment was not made in the near
12 future or right after you said that, right?
13 A I don't know that I can answer that as directly
14 as you're asking, because we made several
15 attempts to make payments that were rejected.
16 Q Tell me about those, When was the first
17 payment you attempted to make that was
18 rejected?
19 A SoasT recall, as the -- as we reached I think

20 it was sometime around early May, end of April,
21 our attempts to get Ethereum hit a road block

22 and we made an attempt to make a payment in
23. USS. dollars, again attempting to operate in

24 ~= good faith, We had no intention of doing

25 anything other than completing this transaction

Page 53
Were there any other attempts to make
payment?

A By that time, yes. Short answer.

Q When was that?

A. That would have been at various times over the
next two months, but by that time we were
communicating via counsel because of the
unexpected escalation by Mr. Torea in the

9 ~~ matter.
10 Q What do you mean by that?

oon A RF whe

i1 A Lonly mean that we felt that we were

12. communicating in good faith to resolve the

13 matter and were surprised to get a lawyer

14 communication from Mr, Torea which forced us
i5 into a legal stance.

16 Q Very good.

17 And so how many times were offers made in
18 this two-month period?

19 MS. ZURN; Objection.

20 Q Okay. You can answer.

21 MS. ZURN: Objection. You can
22 answer if you know,
23 A Idon't recall the exact number of times, but

24
25

there were multiple communications lawyer to
lawyer making offers of payment in addition to

14 (Pages 50 - 53)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 14 of 25

27-Jun-2824 «19:51

16 in Etherewm.

17 Q Okay. And do you understand why Paul was
18 asking to be paid in Ethereum?

19 MS. ZURN: Objection. You can

20 answer.

21 A Ido not personally understand why. We had
22 ~=theories. We didn't understand why.

23 Q Okay. Well, because -- could it be because
24 that's the deal you made? You said you would
25 pay him in Bthereum and he asked to be paid in

From: +13308709164
Page 54 Page 56
1 the payment offers we had made prior to the 1 boards that were physically tagged to say these
2 lawyers becoming involved, 2 are the Torea 267,
3 Q Were the offers of payment in U.S. dollars? 3 Q Why not?
4 A The initial offer of payments were in U.S. 4 A That was never how the hosting and hardware
5 dollars and later in Ethereum as requested. 5 operation was ran, Any clients of the
6 Q What do you mean as requested? 6 operation owned a count of equipment and we
7 A Mr. Billinger had requested or reiterated or 7 maintained a surplus to that count because of
8 demand would be a more appropriate way to say 8 maintenance, warranty replacements and other
9 it that the payment be in Ethereum. We argued 9 things that were covered under our regular
10 against that, given the inequitable nature of 10 hosting agreements. So we only assigned
11 that at the time with regards to the exchange 11 specific hardware to a customer at the time of
12 rates and market volatility, And ultimately 12 shipment at the end of their contracts, similar
13 we, in an aftempt to simply resolve the matter, 13. to how --
14 -~we determined that, you know, we would be 14 Q Similar to how what operates?
15 willing to eat the losses and make the payment 15 A How Amazon Web Services operates, If you own!

16 any reserves in this instance you own a

17 specific piece of hardware, but you don't own

18 or you're not assigned a physical box. They

19 move your assignment as needed for maintenance
20 = and hardware reasons.

21 Q So in terms of these mining cards, can you show
22  ~me with your hands how big the dimensions of a
23 += mining card, a typical mining card?

24 A A typical mining card itself is maybe this big;
25 about 6 inches by 4 inches by 2 inches, kind of

Page 55
1 Ethereum., Does that make sense?
2 A Isuppose it made sense the way that you are
3 saying it. You know, we have never thought
4 about things that way because we are a U.S,
5 dollars centered business and cryptocurrency
6 are only their U.S. dollar value in our
7 business and that's generally how we've always
8

treated it.
9 Q Let's talk a little bit more about the cards.
10 Do you know where the 267 Torea cards

11 were housed prior to this rental agreement?
12 A They would have been housed in the Squirrel

13 facility.
14 Q Very good.
15 Which address would that have been?

16 A That that would have been the 8050 Freedom
17. Avenue address,

18 Q And you'll have to remind me. I know there's
19 the two different addresses. Is the Freedom

20 Avenue the building where the fire was?

21 A Yes, it is.

22 Q Very good.

23 Prior to the fire were the 267 Torea

24 ~~ cards ever moved to a different location?

25 A I don't know the answer to that, There were no

Page 57

1 rough dimensions.

2 Q Very good, And Aimee, and I thank you for the

3 court reporter, because you spelled it out in

4 great detail. I appreciate that.

5 So I think you mentioned earlier in your

6 testimony some of these cards were water

7 cooled. Do you remember saying that?

8 A Yes. We have some cards in our facility that

9 are water cooled,
10 Q So can you describe that kind of setup? Are
11 these cards dipped in some kind of solution to
12 keep it cool while it's processing?
13 A No, It is a board ora card or a pair of cards
14 on a carrier that has a liquid inlet pipe and a
15 liquid outlet pipe where cold liquid is
16 circulated in a closed cavity against the chips
17 and then the hot liquid is removed, the heat is
18 removed from the chips and carried through the
19 exhaust tube out to other processing equipment
20 that removes the heat and returns cold liquid.
21 Q What ifa card is not water cooled, are there
22 other methods that are used to keep it cool?
23 A Yes. Ifit’s not water cooled, it would be air
24 cooled. So that would either have fans
25 directly attached as an integrai part of the

15 (Pages 54 - 57)

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p.16

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 15 of 25

27-Jun-2024 9 19:52

From:

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Pape 58

Page 60

24 ~=mechanism?
25 A It appeared to originate -- again, appeared, I

1 card or they would have a large heat sink and 1 amnota fire investigation expert. It
2 fans in the server chassis to force air through 2 appeared to originate in some so-called
3 the card, called server style passive heat sink 3. breakout boards and power -- PCI power cables
4 or active heat syncs would be the nomenclature, 4 that had caught fire, melted their insulation
5 Q So let's talk about the fire now. 5 and gave way to a larger fire in surrounding
6 So there was a fire at 8050 Freedom 6 combustible material.
7 ~~ Avenue, right? 7 Q Do you know who investigated the fire?
8A Yes. 8 A The fire department certainly did, The
9 Q I'm guessing you know the day by heart by now, | 9 insurance company, which would have been
10 What date was that? 10 Cincinnati Insurance, had their staff. And I
11 A I believe it was July 15. I could be off by a 11 don't know if they had an outside investigation
12 day or so, but. 12 staff or not, but those were the primary
13 Q And that would have been July 15,2021, right? | 13 parties involved from my standpoint.
14 A That is correct. 14 Q At the time of the fire Squirrels was having
15 Q How did you find out about the fire? 15 financial problems, right?
16 A I was retuming from a dinner in Cleveland, 16 A We weren't -- J think it's difficult to say
17 which is about 45 minutes away from our 17 whether we were having financial problems yet.
18 facility, when I got a call from a colleague of 18 We were starting to have shipment problems.
19 mine who had been informed by another tenant in |19 Q Tell me about the shipment problems, please.
20 =the same building that there was smoke coming 20 A We had, you know, we are in the business of
21 out from one of the doors in one of the rooms. 21 ~=manvfacturing electronics which depend on a
22 So we went directly down to the facility and 22 myriad of hundreds of different individual
23 _ intersected the heat fire safe and all of the 23 components, It is common knowledge at this
24 other people that were at the facility at that 24 point that following the pandemic, and in the
25 time in response. 25 — subsequent years continuing to this day, there
Page 59 Page 61
1 Q §o tell me what happened next. The fire is 1 have been, as a regult, some significant
2 discovered, Then what? 2 silicon shortages effecting numerous different
3 A The smoke was discovered. The fire was 3. individual components and chips.
4 discovered, The fire department did their 4 At the time the most significant was that
5 procedures to deal with the facility and the 5 our primary supply of FPGA chips, which are the
6 fire. 6 most expensive central portion of the boards we
7 The fire itself was self extinguished 7 sell and, more importantly, the irreplaceable
8 because it burned through the liquid cooling 8 portion of the boards we sell, was heavily
9 tubes that I just was discussing which actually 9 effected to the degree that orders that we had
10 put out the fire and caused a lot of steam and 10 already placed and had been confirmed and had
11 soot, but the fire department then had concerns 11 committed delivery dates were short shipped and
12 about other electrical equipment and hot spots. 12 balance shipments were given various
13 They shut off power to various parts of 13. substantial lead times before they would
14 __ the building and went about isolating the scene 14 potentially arrive.
15 and otherwise making sure that it was safe and 15 Q So what you describe as shipment problems would
16 secure. 16 have also created some serious financial
17 Q So was the cause of the fire ever identified? 17 problems for Squirrels, right?
18 A_ I don't know that I've seen any formal report. 18 A Yes. It was almost certainly going to force a
19 [have not seen any formal report that 19 reevaluation of the business model if your
20 identifies the exact cause of the fire, but we 20 business is to build and sell hardware, You
21 were generally aware of the area and the 21 cannot build and sell hardware if you can't
22 mechanism of it happening, 22 source the raw materials to build it.
23 Q So tell me about that. What area and what 23 Q So we were talking about Squirrels a lot.

Would the same thing go for Midwest as well,

the financial problems?

16 (Pages 58 - 61)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 16 of 25

27-Jun-2824 «19:52

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Pape 62

A Not directly. Midwest's business was effected
by the fire that you mentioned, but the
shipments would only reduce Midwest's
opportunities. It would not have caused any
immediate financial struggles for Midwest.

Q How many cards were destroyed in the fire?

A I don't believe that exact count has been
determined as of yet for reasons that are
explained in multiple documents that you have,
but I'm happy to go into them if you wish. But
in the order of magnitude of 100 cards, 100 to

eke
UMUDaWNHeE DUO MAATIANA GONE

Page 64
boards that were purchased back from Torea.

Q Okay, Which Michael Maranda order? If it's
just one order, which order would that have
been?

A I don't have an order number. I'm aware that
it was a specific order of 400 boards that was
satisfied from a couple different sources but,
in part, according to a document that I had in
my records, in part, it was satisfied with the
Torea boards.

Q But you're not sure if all 267 were a part of

9 Q Where are those cards now?
10 A The type of cards -- the specific cards or the
11 type of cards that Torea owned?
12 Q Well, I would love to know the specific ones,

13 but I think you said earlier that you're not

14 specific until you have to ship these out some
15 other place.

16 So you can tell me, where are Torea's

17 267 cards as we sit here today?

18 A I would say that we have documents that are
19 part of your exhibits that we've provided that
20 give us an inclination of where they likely may
21 have gone, but I cannot, you know, say

22 ~—s definitively. I can only refer to the

23 documents that I have that suggest that one of
24 the Michael Maranda orders, of which there were
25 many, was partially satisfied with some of the

200 cards were directly effected in a way that 12 this 400 that went to Michael Maranda, is that
could result in total loss. 13 your testimony?
So I would not use the term destroyed to 14 A Okay. IJ do not have -- I do not personally
answer your question, but I would say, you 15 recall any details of this and, as I said, the
16 know, stand at high risk of a loss. 16 boards were not specifically individually
17 Q So you said 100 to 200 cards, 17 tagged. So though I'm actually somewhat glad
18 How many cards was Squirrels hosting at 18 to see that we have some record that associates
19 the time of the fire? 19 the two transactions, but in that same record
20 MS. ZURN: Objection. 20 there is also data that suggests that some
21 A I don't know that exact number, but it was in 21 number of the boards may have been used to
22 ~~‘ the thousands. 22 ~—s fulfill an additional transaction where the
23 I would clarify that MDC was hosting. 23 hardware was physically picked up.
24 Squirrels Research Labs was not hosting, tomy | 24 Q Okay. What was that transaction?
25 knowledge, any amount of cards at that time. 25 A That was a transaction involving parties that
Page 63 Page 65
1 It might have been holding a small number under | 1 were introduced, sales that were introduced by
2 ~ different agreements, but primarily Midwest 2  aknown we'll call it an associate of ours from
3 Data Company was hosting. 3 atool and tech mining company. They had
4 Q Of the 267 Torea cards, how many were destroyed 4 brought some parties down who were interested
5 in the fire? 5 in purchasing boards and they made some ~-- had
6 A Tomy knowledge, the type of cards that were 6 written some checks and made some purchases in
7 — destroyed in the fire did not include the type 7 which they physically took the hardware with
8 of cards that Torea originally owned. 8 them at the time. And this occurred —

9 Q Iapologize. Go ahead. Sorry.
10 A That transaction I believe occurred on the
11 15th of April.
12 Q April 15, 2021?
13 A Yes.
14 Q And then the Michael Maranda's transaction,
15 when would that have been?
16 A It occurred on the 13th of April.
17 Q April 13, 2021?
18 A Yes,
19 O SolI'm still a little confused, because I

20 understood what you said earlier and I'm not
21 trying to give you a hard time, I really just
22 =~ genuinely want to understand.

23 So earlier you said that, again, like

24 this pencil, I'll call ita card, right. This

25 card is a card, but we don't know if it's

17 (Pages 62 - 65)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 17 of 25
27-Jun-2824 19:53

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Page 66 Page 68
1 Torea's or Paul Billinger's because until you 1 way that it encompassed the boards that Torea
2 have to like physically move these around, it's 2 had rather than some other specific product.
3 really not assigned to a specific finite piece 3 Q Thank you for that.
4 of equipment, right? 4 You just mentioned other complications.
5A Yes. 5 What are you referring to there?
6 Q And then you said the best you can tell that 6 A As noted in some of our filings and supporting
7 ~~ the 267 cards we've been talking about today 7 documents, the transactions that originated
8 were sold to third-parties in these two 8 from the Maranda side were -- following the
9 transactions, right? 9 initial couple of transactions began to occur
10 A Yes. 10 ina very rapid fire and outside of our
11 Q So how do you know that given the fact of what {11 ordinary process mechanism, driven primarily by
12. we've been talking about? 12. the client, And so standard inventory, checks,
13 A_ So to speak to that, at the time the vast 13 -P.O.'s, invoices, a lot of those things were
14 majority of the hardware we produced was being {14 not done by the client in the specific order
15 purchased by Michael Maranda, I'll give you 15 that we would normally do them,
16 that backing context. 16 The client instead began simply directing
17 In addition to the several other sales 17 orders to us or even directing premature
18 that we were doing, the vast majority was being 18 payments ahead of orders and then after the
19 purchased by Michacl Maranda. As wereceived |19 fact assigning -- saying to apply these
20 orders in the course of our built to order 20 payments to a specific order and, you know,
21 ‘business, we had to procure additional silicon, 21 ~—_screating an invoice after a payment was
22 additional chips to support the orders we were 22 received, just generally out of the ordinary
23 ~—sreceiving. 23 flow of how we would normally do business
24 So I had a document. I believe the Excel 24 because of the volume and the speed at which
25 sheet is titled "Allocations of Production" or 25 business was being done.
Page 67 Page 69
1 something along those lines. I had a document 1 ‘There were additionally transactions
2 in my internal records which was simply 2 where third-parties received sales agreements
3 assessing the orders we had received and the 3 or purchase orders that were not created by
4 chip shipments that we had received and the 4 Squirrels Research Labs staff, but payments
5 _ orders that we had fulfilled to determine how 5 were directed to Squirrels Research Labs and
6 many more chips we needed to have on order, how| 6 then we were later told by the client to
7 many more we needed to build to reach our 7 ~~ fulfill those orders.
8 production goals. 8 Mr. Maranda began acting as a bit of a
9 In the process of culminating that 9 channel partner at that point beyond being a
10 information at the time in which all of this 10 ~— direct client, and we have our own -- had our
11 would have been very fresh and very present, I 11 own disagreements about how that process went,
12 had in a note -- there was a note in that 12 which is -- when I say we, I mean the Debtors,
13 document that said that the 400 PO order from 13 Squirrels Research Labs and the Midwest Data
14 Michael Maranda had been partially fulfilled 14 Company had our disagreements about how that
1S with those 267 Torea boards. This was 15 process went with Mr. Maranda.
16 significant because Mr, Maranda's orders, there 16 Q So why did you allow Mr. Maranda to work
17 are other complications regarding Mr. Maranda's | 17 outside the lines here, so to speak, in terms
18 — orders, which I'm sure you'll have some 18 of your process?
19 questions about, but, in general, different 19 A He was a very aggressive gentleman.
20 purchase orders had suddenly different specific 20 Q So because he was aggressive, you allowed him
21 hardware part numbers, description of hardware, | 21 to just do whatever he wanted in tertns of
22 ~~ terms and conditions, et cetera, 22 ~~ orders, P.O.'s, payments?
23 And so this particular order was one of 23 A Ishouldn't say we just allowed him to do
24 ‘the -- not the only, but one of the few orders 24 whatever he wanted, but we made a good effort
25 ‘that explicitly defined the hardware in such a 25 to try to keep the order and the process to the

18 (Pages 66 - 69)

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p.19

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 18 of 25

27-Jun-2024 =19:54

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Page 70
| sales that were being brought.
2 There was nothing inherently bad about a
3 channel partner bringing you sales. Certainly
4 there are channel partners who are more
5 _ difficult to work with than others and
6 customers who are more difficult to work with
7 than others and we generally treated it from
8 that lane.

9 Q So Michael Maranda was a very aggressive persor
10 =‘ [ think you just said. Is that the right term?
11 A Yes.
12 Q He was also a member of Squirrels, right?
13 A Yes. He became one.
14 Q When was that?
15 A I don't recall the exact date. It would have

16 been late spring, perhaps May. It could have
17 been as early as late April, but I believe it
18 was May of 2021.

19 Q In terms of various transactions with Michael
20 Maranda, who was in charge of negotiating the

Page 72
1 April 15, 2021, like the title of it or --
2 A Idon't know that — well, maybe let me be
3 explicit here. I don't have any information
4 that directly says that any specific customer
5 has those specific cards. I only have the
6 document that I referenced that indicates that
7 some of the orders that occurred in that
8 April 15 window may have. So I don't believe
9 there are responsive documents explicitly.
10 There may be additional documents that we
11 could provide, but there's no one-to-one
12 connection as far as sales that occurred on or
13 about that April 15 date.
14 Q Okay. And in terms of documenting this
15 transaction, these transactions on April 15,
16 2021, would that have been documented via
17 invoice, like here is an invoice for these
18 cards?

19 A Yes, That would have been a standard form

21 ‘terms of those transactions?
22 A I would answer Michael Maranda. But as far as
23 ~— at the business, myself or Jessica Gritzan were
24 ~~‘ the counter parties. Jessica Gritzan primarily
25 from the standpoint of specific documents,
Page 7]
1 Purchase Agreements, things of that nature, but
2 from a business standpoint primarily it was
3 directed at me to negotiate agreements,
4 Q Okay. Did you do that or did you just bend to
5 Michael's will in terms of price, for instance?
6 A I would say that we negotiated from a generally
7 prudent -- we negotiated those agreements from
8  agenerally prudent business standpoint, but I
9 certainly did not have the upper hand in those
10 negotiations.
11 Q How were those negotiations carried out,
12 electronically or in person?
13 A Various forms. There were in person meetings,

14 ‘in person trips, in person calls, some e-mails,

15 Most negotiations happened via telephone call.
16 Q Okay. So some of the cards went to Michael
17 Maranda on April 13. Some of the cards went to
18 third-parties on April 15.

19 Do you know who the third-parties are?

20 A J don't recall the names of the exact customers

21 offhand. We would certainly have some record
22 of those sales,

23 Q Could you tell me which one of the records I
24 apparently have that would have the names of
25 the people that purchased these cards on

20 invoice that would have been created to
21 correspond to the -- several of those purchases
22 were made by check, I do know that explicitly,
23 ~—-so there would have been an invoice to
24 correspond to that check.
25 Q So is that something that you would be willing
Page 73
1 to pull together for me, these April 15, 2021
2 ‘transactions where Torea cards were sold?
3 A Yeah. Certainly, you know, you're welcome to
4 request whatever documents you want. I have no
5 problem with that.
6 Q Okay. And not to be -- I mean I did request
7 them. Easked documents related to these cards
8 and their sale, so I'll follow up with Julie.
9 [don't want to make a big point about it.

10 A Yeah. 1 believe, just to be matter of fact

11 about that, we don't have any direct

12 information that suggests that those sales were
13 related to those cards, I have given you more
14 — information in this communication that has

15 opened the door to say we should probably

16 produce those as well and I have no problem
17 doing so. But we, by no means, intentionally
18 withheld those.

19 MS, ZURN: I think what

20 Mr. Stanfill is saying, he'll clarify, but

21 there were many transactions taking place

22 ~— during that time period that would have

23 involved the sale of cards like Torea cards.

24 THE WITNESS: Yes.

25 MR, HEASLEY: Okay. Let me ask a

19 (Pages 70 - 73)

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p.28

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 19 of 25

27-Jun-2024 19:55

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Pape 74
! couple more questions now.
2 Actually, why don't we do this, Let's
3. take a five-minute break, take another quick
4 _ break and then we'll pivot over to some more
5 exhibits, okay. So let's say seven minutes.
6 3:25, okay? Thanks,
7 (Recess taken.)
8B ee
9 (Plaintiff's Exhibit 3 was marked.)
100 = += -+--
11 Q Mr. Stanfill, I'm going to ask you some

Page 76

1 with Mr, Billinger around this time.
2 Q So do you see the messages on March 4 that are
3 on the screen which may be a little easier to
read, but if you can read the smal print there
on the paper in your hand, you can you do that,
but there's a message on March 4, 2021. It
says, "Hi Paul."

8 Do you see that?

9 A Yes. I see that,
10 Q So it says, "Amanda is trying to get
11 confirmation on amount just now, but David has

DU DS

9A Yes.
10 Q Let's turn to the second page of the exhibit
11 which is at the bottom of the piece of paper in
12. your hand, SQRL TORO015 at the bottom of it.
13 A Yes, I see that.
14 Q Let me ask you this question first.
15 Fiona, whose last name is King, did she
16 have your authority to negotiate this
17 transaction on behalf of Squirrels?
18 A I would say she had the authority to

19 communicate the offer and communicate about it,
20  =She didn't have any explicit authority to

21 negotiate arbitrary terms or anything of that

22 ~~ nature.

23 Q Did you personally communicate that to Paul
24 ~—-Billinger at any time?
25 A No. I don't believe I had any communication

12 questions about Exhibit 3, so I'm going to call 12 been unavailable so far."
13 up the exhibit because the print is kind of 13 Do you see that?
14 — small on a converted — I don't know how good 14 A Yes.
15 your eyes are, but we're going to zeoominonmy |15 Q "Our confirmation was $3.50 times 267 weekly in
16 exhibit. Hopefully that helps. 16 advance and adjustments made as profits
17 Mr, Stanfill, I've now shared the 17 spike/dip when working out the next payment.”
18 exhibit, so I'm pretty far zoomed out right now 18 Do you see that?
19 just so we can note it's Exhibit 3. The stamp 19 A Yes.
20 is at the bottom. 20 Q So that's not a flat 3.50 per day per card,
21 Do you see that? 21 ~~ right?
22 A Yes, 22 A Yes, As I alluded to earlier, we had said that
23 Q It's in your hand also and on the screen. 23. ~we were amiable to adjusting as the market
24 So what is this exhibit? 24 ~~ adjusted.
25 A This appears to be a Discord chat between SQRL,| 25 Q And so let's see, “Would you be able to accept
Page 75 Page 77
1 which is Fiona King, and PBI, which | believe 1 the $3.50 meanwhile?"
2 is Paul Billinger. 2 Do you see that?
3 Q And it's a little hard to see, but it's dated 3 A Yes.
4 March 2, 2021, 4 Q And PBI, which is Paul Billinger, says, "No -
5 Do you see that? 5 cards make 0.85 ETH per day, so payment should
6 A Yeah. I see that starting date. 6 reflect this.”
7 Q And based on the first few messages, this 7 Do you see that?
8 relates to renting the 267 Torea cards, right? 8 A Ido.

9 Q And then Fiona, SQRL_LIMS says, "Okay. She

10 will get this arranged as soon as possible for
11 - you when she hears back."

12 Do you see that?

13 A Yes,

14 Q So and after this exchange is when Squirrels
15 took control of the Torea -- 267 Torea cards,

16 right?

17 A I believe we already had control over the cards
18 prior to this March 4 exchange,

19 Q So in terms of the final yield between

20 Squirrels and Torea related to Squirrels
21 renting these cards, what is your understanding
22 ~— of the terms of that deal?

23 A My understanding was the initial deal was
24 $3.50 per day per board and that we would be
25 — willing to make some adjustments as the market

20 (Pages 74 - 77)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 20 of 25

2?-Jun-2624 19:56

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Page 78
1 shifted.
2 Q Sorry. Go ahead.
3 A Iwas just going to reference the first message
4 where Paul Billinger referenced 4.7. We
$5 clearly made a communication that the market
6 had shifted, however, I had at that time not
7 approved any changes to the payment.
8 So I would highlight that our team here
9 was attempting to say -- and this is important

Page 80
1 U.S. dollars or Ethereum?
2 A It was transacted in Ethereum, but the amount
3 enumerated in U.S. dollars on our end, So
4 whatever the -- this is very common when we
5 make a payment that is transacted in Ethereum.
6 And, in fact, it's very common across all
7 cryptocurrency networks that a transaction
8 priced in U.S, dollars will be paid ina
9  eryptocurrency with the conversion rate fixed

9 there was understanding that that was Paul's
preference, yes.

11 Q Did Squirrels make rental payments related to
12 the cards?

13 A Yes.

14 Q How many?

15 A Tam aware of at least two.

16 Q Do you recall when the dates of those payments

17 were?
18 A I don't recall the exact dates. Both were in
19 = March though.

20 Q Do you know how much was paid?

21 A I don't recall the exact amount offhand. It is
22 inone of the -- in our initial documentary
23 response.

24 Q That's fine.
25 Do you know, was the payment made in

10 because it goes to a repeated situation that we 10 as of the time of the transaction.
11 ~— will talk about so I will say it here as part Yo ee
12 of this answer, they wanted to pay some portion | 12 (Plaintiff's Exhibit 4 was marked.)
13 of the money now, but they were authorized to WY we ee
14 pay to avoid there being any delay in payment 14 Q Let's look at Exhibit 4 next. It will be
15 and if there was a discrepancy, we could work 15 another Discord message string, So can you
16 out that difference later. That becomes a 16 grab Exhibit 4? I'm going to scroll down to
17 repeating theme where we're really trying to 17 it.
18 pay a large sum of the money while they can't 18 A Yes. Lhave it here,
19 get ahold of me or I'm not available for this 19 Q I'm showing you on the screen and you have it
20 negotiation, and that is not accepted, and so 20 in your hands an Exhibit 4 which is another
21 no transfers are made of no fault of our own, 21 Discord messaging string J would call it,
22 ~=Sol'm just going to put that out there on the 22 ~=— right?
23 record. 23 A Yes.
24 Q Okay. Well, you testified earlier that you 24 MS. ZURN: Can you make ita
25 were going to pay in Ethereum, right? 25 little bit bigger, Mr. Heasley?
Page 79 Page 81
1 A Not for the rentals, The rentals were always 1 MR. HEASLEY: Oh, sure.
2 negotiated in U.S. doliars. 2 MS. ZURN: Thank you.
3 Q So you were going to purchase the cards with 3 Q So just as an initial matter, it appears that
4 Ethereum? That was the scope of that deal? 4 — this Discord exchange is between you, GPU
5 A Yes, There was a -- the card purchase 5 Hoarder, and Mr. Billinger, right?
6 negotiation was negotiated enumerated in 6A Yes.
7  Ethereum. While we do not explicitly spell out 7Q Andas of the date on the top message is
8 that the payment would transact in Ethereum, 8 April 12, correct?

9A Yes.
10 Q And so glance through this string and tell me a
il little bit about what's going on here.
12 What are you communicating about?
13 A This was the communication regarding the
14 discussion to purchase the boards.
15 Q Soas of April 12, Squirrels did not own those
16 boards, right?
17 A Correct.
18 Q Asof April 12, Squirrels did not have a
19 definitive deal in place to buy those boards
20 from Torea, did it?
21 A You know, as of the beginning of the day on
22 = April 12, no.
23 Q Was there ever a deal finalized whereby
24 Squirrels would buy the 267 cards?
25 A Yes.

21 (Pages 78 - 81)

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p.22

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 21 of 25

27-Jun-2824 19:57

From:

+13308769160

Page 82
1 Q And when was that deal made?
2 A April i2.
3.Q April 12. Okay.
4 And what were the terms of that deal?
5 A They're enumerated in the message from PBI in

6 the middle of the first -- I would say the

7 second message in the second section of the

8 first page. It reads, “Lets go with 0.6

9  Ethereum per (160.2), no more mining, plus the
10 = amount from the rental."

11 Q So 160.2, that would have been Ethereum, right?
12 A Yes,

13 Q Okay. Plus the amount owed for the rental that
14 hadn't been paid by that point, right?

IS A Yes,

16 Q Did you agree to those terms?

17 A Idid, Itappears I said, "Allright. It may

18 be mid week and then we'll work out run time”
19 with regards to the rental.

20 Q Okay. So you testified earlier that you agreed
21 to pay ETH and here it is in black and white,

22 ~~ right, Ethereum?

23 A Yes.

24 Q So you agreed to pay 160.2 Ethereum to buy the

Page 84
1 alluded to in the "all right" message.
2Q So, "Allright. It may be mid week and then
3 we'll work out that run time."
4 I'm going to scroll down to it. Let me
5 scroll down to it. Sorry.
6 A Sure. No problem.
7 Q Did I read that correctly?
8 A Yes.
9 Q What do you mean by run time in this?
10 A The hosted time.
11 Q And that would be in relation to the rent that
12 was still due?
13 A Yes.
14 Q Okay. So, "Maybe mid week."
15 I'm assuming you mean mid week either
16 that very week or the week after that, right?
17 A Yes. That would have been based on my current
18 expectations of when we would have the Ethereum
19 funds ready.
20 Q Allright. And you didn't pay the full amount

21 ‘by mid week of that week or the next one,
22 ~— right?
23 A Correct.

24 Q Okay. But you said you would here, right?

3 Q Do you know at this point how much in back rent
4 was owed?
5 A No. The nature of the back rent was still
6 = disputed.
7 Q So the back rent was disputed, but there's no
8 dispute about you said here you would pay
9 160.2 Ethereum to buy the 267 cards, right?
10 A Yes.
11 Q Okay. And so this deal, the "all right" you

12 mentioned, it doesn't really have times here.
13. I don't know, It's a blast from the past.

14 Do you remember about what time of day
15 you would have sent that out?

16 A I don't recall exactly when that was time of

17 day.

18 Q Okay, So on April 12 you, meaning Squirrels,
19 said it would pay 160.2 Ethereum.

20 That payment was not made in full

21 immediately, right?

22 A That is correct,

23 Q Why not?

24 A We did not have those funds in Ethereum. We
25 needed time to get those together, which I

25 cards, plus the back rent charges that you 25 A Yes. And--
Page 83 Page 85
1 owed? 1Q Okay.
2A Yes. 2 A Go ahead.

3 Q No. That's fine. Yes is fine by me.

4 So let's see. So then there's a series

5 of other messaging after that. You could read
6 through them if you would like, But the next
7 one I want to ask about is on the next page,

8 which is on April 20.

9A Yes.

10 Q So let's talk about that message. So April 20

11 GPU Hoarder, that's you, so let's start with
12 the top.

13 So PBI is Paul Billinger, He says, "I'd
14 like to get this resolved as soon as possible,
15 either by completing the sale or getting these
16 hashing to my address?"

17 Do you see that?

18 A Yes,

19 Q So the next line is you said, "It will be done
20 here."

21 And by that phrase do you mean that

22 ~—syou're still going to be paying 160.2 Ethereum
23 and the back rent? Is that what you meant by
24 ~~ that?

25 A Yes, That the deal we had would be completed.

22 (Pages 82 - 85)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 22 of 25

27-Jun-2024 19:58

From:

+13388709168

9 to create a dedicated VPN for them to manage
10 the boards that they were purchasing that were
11 at our facility. There were issues with our
12 IT staff in getting that VPN set up. We didn't
13. have the right kind of router. I forget the
14 exact details. But there was some kind of
15 issue that was delaying that VPN and, thus,

16 = delaying that USDT payment,
17 Q So in another message on April 20 you drive

18 home that point. "I should get the USDT" --
19 well, let me ask you this before we move on to
20 that,

21 When did that deal you're talking about,
22 when did that deal close, the one that had the
23. -YPN issue?

24 A I would have to check, but I don't think it

Page 86 Page 88
1 Q Okay. So then you say next, "I'm sending you 1 May. It took much longer to close than I had
2 24 Ethereum now as deposit, there are funds 2 expected, which speaks to the underlying issue
3. owed me that are being withheld due a VPN 3 here.
4 issue, hopefully sorted out tonight.” 4 It certainly could have been resolved
5 Do you see that? 5 with more communication with Mr. Billinger
6A Yes, 6 = about the backhand circumstances, however, it
7 MS. ZURN: Mr. Heasley, it says, 7 was not, and so we remained in a situation
8 "Hopefully sorted tonight.” That's exactly 8 where we didn't have access to ready Ethereum
9 what it says so you should read exactly what it 9 to send.
10 says. 10 Q Well, do you recall the customer name with this
11 MR. HEASLEY: That's fine. No 11 VPN issue so I could be more specific and not
12. problem. 12 keep saying the VPN issue?
13 Q So what's the VPN issue? 13 A We can use the name Bill. That was the first
14 A We had an unrelated transaction that was paying |14 name of the gentleman.
15. usin USDT,. I mentioned that it was difficult 15 Q Sure. Fine,
16 for us to get Ethereum quickly. We did not 16 When Bill made his payment to finish up
17 regularly hold Ethereum or, in fact, any 17 this deal in early May, you still didn't send
18 — cryptocurrency in volume, and so the only 18 the Ethereum to Torea, did you?
19 mechanism we had to get cryptocurrency was to |19 A I don't believe we sent it at that time. Well,
20 doa bank transaction to an exchange which 20 = know that we didn't send it at that time,
21 would require some amount of time to clear. Z1-_—syes.
22 We've seen it take as much as two weeks. 22 Q Why not?
23 Sometimes one week. And so rather than do that |23 A By the time that we got the USDT and gained
24 ~~ and have funds held in transaction, we knew 24 access to the USDT, the Ethereum to U.S. dollar
25 that we had a sale coming in that was paying in 25 exchange rate had changed drastically.
Page 87 Page 89
1 USDT and we would be able to simply use that 1Q And let me ask you this, You're an expert in
2  USDT that would be immediately available 2. cryptocurrency, right?
3 eryptocurrency U.S. dollar equivalent and 3 A It's a very broad field, I'm an expert in
4 immediately convert it to Ethereum and provide 4 certain areas of cryptocurrency.
5 the payment to Mr, Billinger from that 5 Q Okay. So you're very familiar with Ethereum, I
6 transaction. 6 would assume, right?
7 Q So why didn't that happen? 7 A Tam, yes.
8 A The customer, before paying the USDT, wanted us 8 Q And you know that Ethereum, the value in U.S.

ultimately closed until around the beginning of

9 dollars fluctuates, right?
10 A Yes. I'm certainly aware that it does have
11 some fluctuations.
12 Q Allright. And it fluctuated before 2020,
13 right?
14 A Yes.
15 Q It fluctuated in 2020, right?
16 A Yes,
17 Q And it fluctuated in 2021, in 2022, right?
18 A Yes,
19 Q Okay. And so you decided you didn't want to
20 pay Torea in Ethereum because the value of
21  Ethereum had drastically changed in the time
22 ~~ between these Discord messages and the time you
23 closed that deal, right?
24 MS. ZURN: Objection.

25 A That's not correct.

23 (Pages 86 - 89)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 23 of 25

27-Jun-2824 =19:58

From:

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Page 90
What's not correct about that?
The statement that I decided or the entity,
Squirrels Research Labs, decided that it did
not want to.
Q Well, did it pay the Ethereum in May when the
bill of transaction closed?
A I would respond that it was not able to. It
did not have the funds to purchase Ethereum at
9 the elevated, significantly elevated conversion

>

a~aAor WN Ee

Page 92
1 purchase it, right?
2 A Yes. With the aforementioned delays. To give
3 _- you the answer there frotn what we're speaking
4 about, we knew that purchasing Ethereum with
5 US. dollars from a bank account would take
6 seven to 14 days on our side. We had direct
7 knowledge that we were receiving cryptocurrency
8 that we could directly convert faster than that
9 orexpectedto. Asa result, we did not make a

9 Q Okay. So you didn't -- Squirrels did not make
a payment on April 21, 2021 of the outstanding

11 amount due and owing, right?

12 A Correct.

13 Q Do you think that's an example of bad faith to
14 not do what you just said you would do?

15 A No. I said that I hoped that it will be no

16 later than tomorrow. I made no representations
17 that I was sure or confident or a commitment
18 that it would be no later than tomorrow.

19 ~~ Again, I'm operating the business at this point
20 ~=—with insufficient available cryptocurrency to
21 complete the transaction. There's no decision
22  notto complete the transaction,

23 Q Well, Ethereum was available on the open

market, right? You said there wasn't Ethereum
available. There was if you decided to

10 rate. 10 bank transaction to purchase duplicative

11 Q Well, you're an expert in this field and you 11 cryptocurrency, which led to additional

12 agreed to pay in Ethereum when you completed |12 slipping timelines as the original transaction

13‘ this deal, right? 13. didn't complete and then, you know, thus, put

14 A Icompleted this deal under the expectation 14 us in a position of slipping timelines if we

15 that it was a good faith transaction based on 15 did make a purchase, in addition to the

16 the value of the underlying boards, not an 16 conversion issue which was, again -- you know,

17 attempt at a windfall at our bad luck of 17 ‘I'm just stating the facts here. I'll try to

18 timing. 18 just stick to facts.

19 Q Okay. Well, let's talk a little more about 19 Q And that's fine. I'm all about facts.

20 ‘that, 20 So you didn’t communicate any of those

a1 So in this message -- let's go back to 21 ~— facts you just told me to Paul, right?

22 ~=—« the April 20 messages. You said, "I should get 22 A Idid not.

23 ~~ the USDT to convert and send as soon as the 23 Q Okay. Is that bad faith?

24 ~~ client can confirm access." 24 A Well, let me slightly adjust that answer. I

25 Do you see this sentence where I keep 25 communicated some issues, but clearly not the

Page 91 Page 93

1 going? 1 depth of underlying issues to Paul, certainly
2A Yes,I do. 2 ~~ not in bad faith.
3 Q Okay. "I should get the USDT to convert and 3 I was certainly just extremely busy at
4 send as soon as the client can confirm access 4 the time and was not giving -- I had no
5 to their machines. Working on that now. I 5 inclination at this time that Paul was so upset
6 hope this will be no later than tomorrow.” 6 or that we had any major disagreement. You
7 Do you see that? 7 know, my mindset was it's a little delayed.
8A Yes. 8 We're going to get it solved here, Okay,

9 Cool, Let me know when you send it.

10 There was no expectation that there was
11 some large certainly legal precursor building
12 here.

13 Q Okay. Well, the payment to complete this
14 transaction was not forthcoming in the

15 immediate aftermath of these messages, right?

16 A No, it was not,
17 Q Right.

18 And sq you see on page 17, the one I

19 think you're on, there's a number of PBI

20 messages.

21 Do you see those?

22 MS, ZURN: I'm sorry,

23 = -Mr. Heasley, page 17 of what.

24 MR. HEASLEY: SQRL TORO0I7 which
25 was the page we were just on which is the page

24 (Pages 90 - 93)

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21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 24 of 25

27-Jun-2024 19:59

From:

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Page 94

1 that I just explained.

2 Q So do you see the series of messages, the PBI

3 messages?

4A Yes,

5 Q Do you notice anything about those?

6 A Elaborate.

7 Q Sure. No responses, right?

8 A Correct.

9 Q No message, "Hey Paul, we're working on it.
10 We're waiting for that deal to close." Right?
11 ‘You don't see anything like that there, right?
12 A Correct.

13 Q Message after message, day after day, no
14 responses. Do you think that's bad faith?
15 A 1 don't think it's bad faith.

16 Q Why not?

17 A At that point in time I was very rarely

18 chatting on Discord. I was very, very actively
19 working overnight 12-hour shifts running

20 machines trying to build things, trying to

21 catch up on orders that were falling further in
22 ~= delay. I simply wasn't interacting on Discord
23 very often. It's not something that I check

24 ~~ every day all the time at this point.

25 Q You eventually blocked Paul on Discord, right?

Page 96
1 projects. What did you think about closing the
2 deal with Paul? I mean you hadn't closed. You
3. hadn't paid them in full. What was your
4 thought process?
5 A I think at this point we were in the grind. We
6 were doing a lot of things. We were managing a
7 lot of transactions from a very aggressive
8 client.
9 Time has a way of passing without you
10 realizing it and certainly we were trying to
11 get together the funds to conclude this
12 transaction as quickly as possible.
13 Q Okay. Did anybody communicate that to Paul?
14 A Lhad believed that Amanda was communicating
15 that. I did not regularly communicate with
16 Paul. My interactions occurred only when there
17 was a situation that escalated to some high
18 level that I needed to get involved in. Ona
19 regular basis either Fiona or on billing
20 = matters usually Amanda was having that
21° ~— cormmunication.
22 Q But you had enough communication to complete

23 this transaction, right, to buy the cards?
24 A Yes.
25 Q Okay. So what about Fiona? Did Fiona reach

Page 95
1 A That is false.
2 Q Okay. Did you disable so he could not send you
3 any more messages?
4 A No. I can answer the cause of that.
5 Q Please. Please, do.
6 A So on Discord the way that Discord works to my
7 understanding is you can only send messages
8 back and forth between parties on which you
9 share a server. And there are many different
10 servers for different topics. There are

11 certainly many different servers that discuss
12. FPDA or SQRL hardware.

13 I had left one of the servers because it

14 -was full of noise that was distracting from the
15 focus that I needed at the time. I had left

16 one of the servers to focus on my work, which
17 happened to be apparently the only server that
18  ~=Paul and I shared, which made him unable to
19 message me and I was not aware of that.

20 Q Thanks.

21 A Seeing this printed version of the document, it
22  ~=was actually the first time that | actually had
23 any awareness that Paul was unable to message
24 sme,

25 Q Okay. So you're busy doing these other

Page 97
1 out to Paul with updates on what was the issue
2 with payment?
3 A I don't directly know if that occurred or not.
4 Q What about Amanda? Did Amanda reach out and
5 give Paul updates?
6 A I'm not directly aware of whether or not that
7 occurred or not other than contents of e-mails
8 that I have in front of me here that happened
9 at later dates,
10 Q So can you understand why Paul was upset?
11 A Yeah. Absolutely. I certainly understand the
12. miscommunication around the situation.
13 Q Paul basically just wanted to be paid for what

14 you said you would buy, right?

15 A Yes. And I believe from our side we had every
16 desire to conclude that transaction and pay it
17 and certainly had the belief that any issues

18 stemming from the delay could be addressed.
19 And, frankly, we didn't know what the big deal
20 onthe delay was. Delays happen in this

21 business all of the time. We didn't have any
22 inclination that this wasn't something that was
23 just going to be delayed a little bit and then

24 resolved and everyone goes on their way.

25 Q Allright. And so in terms of this issue with

25 (Pages 94 - 97)

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p-26

21-61491-tnap Doc 350 FILED 06/27/24 ENTERED 06/28/24 08:15:29 Page 25 of 25

